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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Senior Judge John L. Kane


Date: April 23, 2018                            Deputy Clerk: Bernique Abiakam
                                                Court Reporter: Tammy Hoffschildt
Interpreters: Nodira Matyakubova
              Muhitdin Ahunhodjaev
              Tatiana Dautkhanova

Criminal Action No.:12-cr-00033-JLK-2

UNITED STATES OF AMERICA,                                Gregory A. Holloway
                                                         Julia K. Martinez

      Plaintiff,

v.

2.    BAKHTIYOR JUMAEV,                                  David B. Savitz
                                                         Mitchell Baker
                                                         Emily E. Boehme

      Defendant.


                               COURTROOM MINUTES

Jury Trial Day 20

9:30 a.m.     Court in session.

Court calls case. Appearances of counsel. Also present for the Plaintiff, Jason
Ferguson, Special Agent. Defendant present, in custody. Also present for the
Defendant, Anthony F. Divirgilio.

Interpreters present.

Comments by the Court regarding request for special Jury Instruction (Doc No. 1777).

ORDERED: Defendant Jumaev’s Resquest [sic] For A Special Instruction Prior
         To The CHS’ Testimony (Filed 4/22/18; Doc. No.1777) is GRANTED.

Further discussion regarding special Jury Instruction.

Discussion regarding Order(Doc. No. 1775).

Discussion regarding prohibiting inquiries, during examination, which may reveal CHS’
(“Mr. X”) identity.

ORDERED: Any exhibit that contains an image of witness (“Mr. X”) shall be
         under SEAL.
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Further discussion regarding prohibited inquiries.

9:42 a.m.           Jury present.

Jury Instruction No. 7C, read by the Court.

9:44 a.m.           Courtroom doors locked. CLOSED HEARING begins.

9:45 a.m.           Defendant’s hostile witness, “Mr. X”, called and sworn.

9:46 a.m.           Direct examination begins by Mr. Savitz.

10:51 a.m.          Court in recess.

11:14 a.m.          Court in session.

Jury present.

11:16 a.m.          Continued direct examination by Mr. Savitz.

12:00 p.m.          Court in recess.

1:30 p.m.           Court in session.

Jury present.

1:31 p.m.           Cross examination begins by Mr. Holloway.

Government’s Exhibit 157A offered.

Objection. OVERRULED.

Government’s Exhibit 157A ADMITTED.

1:34 p.m.           Continued cross examination by Mr. Holloway.

Government’s Exhibit 168A offered.

Objection. OVERRULED.

Government’s Exhibit 168A ADMITTED.

1:40 p.m.           Continued cross examination by Mr. Holloway.

1:48 a.m.           Redirect examination by Mr. Savitz.

2:01 p.m.           Witness excused.

Defendant’s Exhibits 761 and 778 offered.

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Defendant’s Exhibits 761 and 778 ADMITTED by stipulation.

The Court gives Ms. Boehme permission to read item 2 of Jury Instruction No. 15A

2:04 p.m.           Bench conference regarding finalizing logistics for “Mr. X”.

2:05 p.m.           Jury excused.

ORDERED: The transcript and notes of the “Mr. X” are SEALED, and are not to
         be unsealed, without FIRST OBTAINING THE WRITTEN ORDER OF
         THIS COURT. It is FURTHER ORDERED that any reference to this
         testimony in any brief or pleading, hereafter filed, shall be redacted
         of any reference that identifies this particular witness, and the
         redactions will likewise be identified and placed under SEAL with
         the same restriction, and in the same location requiring a WRITTEN
         ORDER authorizing unsealing.

2:07 p.m.           Court in recess.

2:20 p.m.           Court in session.

Courtroom doors unlocked. Trial resumes as an OPEN/PUBLIC HEARING.

Jury present.

2:21 p.m.           Defendant’s witness, Alexander Obolsky, called and sworn.
                    Direct examination begins by Mr. Savitz.

Defendant’s Exhibit 645 offered.

No objection.

Defendant’s Exhibit 645 ADMITTED.

2:35 p.m.           Continued direct examination by Mr. Savitz.

Mr. Savitz moves to tender Dr. Alexander Obolsky as an expert in Forensic
Psychiatry, in order to render opinions regarding that specialty.

Objection OVERRULED.

Tender ACCEPTED.

2:47 p.m.           Continued direct examination by Mr. Savitz.

3:28 p.m.           Court in recess.

3:53 p.m.           Court in session.


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Jury present.

3:54 p.m.           Continued direct examination by Mr. Savitz.

4:27 p.m.           Cross examination begins by Mr. Holloway.

The Court admonishes the Jury regarding any discussion and/or independent research
of the case.

4:54 p.m            Jury excused.

ORDERED: Defendant is REMANDED to the custody of the United States Marshal for
         the District of Colorado.

4:55 p.m.     Court in recess.
Trial continued.
Time in court - 4 hours, 54 minute.




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